54 (Offi€`lal FOrm 4)(121‘07) UN|TED STATES BANKRUPTCY COURT
WESTERN DlSTRlCT OF TEXAS
SAN ANTON|O DlVlSlON

|N RE: Primera Energy, LLC Case No. 15-51396

Chapter 11

LlST OF CRED|TORS HOLD|NG 20 LARGEST UNSECURED CLA||V|S

Fol|owing is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in accordance wilh Fed. R.
Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (‘l) persons who come within the definition
of "insider“ set forth in 11 U.S.C. § 101. or (2) secured creditors unless the value of the collateral is such that the unsecured deficiency
places the creditor among the holders of the 20 largest unsecured claims. lf a minor child is one of the creditors holding the 20
largest unsecured claims. state the chi|d's initials and the name and address of the ohi|d's parent or guardian. such as "A.B., a minor
child, by John Doe. guardian." Do not disclose the child's name. See. 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

 

 

 

 

 

 

 

 

til (Zi (3) (4) (5)

Name, telephone number and indicate if
complete mailing address, claim is
including zip code. of contingent.
employee agent, or unliquidatedl

Name of creditor and complete department of creditor familiar disputed, or Amount of claim [if

mailing address. including zip with claim who may be Nature of claim (trade debt. bank loan. subject to secured also state

code contacted goverment contract etc.) setoff value of security]

Trican Wel| Services Services and Supplies $1,087,481.21

F’. O. BDX 677418
Dal|as, TX 75257

 

P|alinum Pressure Pumping Services and Supplies $1,048.712.15
2100 W. Loop S #1400
Houstonl TX 77027

 

Cli| Patch Rental Services Services and Supplies $796.210.65
P. O. Box 204667
Da||as. TX 75320-4667

 

Unit Texas Drilling. LLC Services and Supplies $559,384.95
7130 Soulh Lewis #1000
Tu|sa. OK 74136

 

Key Energy Services Serv|ces and Supplies $242,632.46
P. O. Box 4649
Houston, TX 77210-4649

 

Midslar Energy LP Services and Supplies $230,000.00
1840 Snake River Road #E
Katy. TX 77449

 

 

54 (ofnciai i=orm 4) (12107)

UN|TED STATES BANKRUPTCY COURT
WESTERN DlSTRlCT OF TEXAS
SAN ANTON|O DlVlSlON

|N RE: Primera Energy, LLC

Case No.

Chapter

15-51396

11

LlST OF CRED|TORS HOLD|NG 20 LARGEST UNSECURED CLA|MS

Cori!i`riuai‘.ion Sheet No. 1

 

(1)

Name of creditor and complete
mailing address. including zip
code

 

(2}
Name. telephone number and
complete maiHi=ig address.
including zip oode. of
employee agent, or
department of creditor familiar
with claim who may be
contacted

 

(3)

Nature of claim (irade debt. bank loan.
govenrient contractl etc.)

 

(4)
indicate if
claim is
contingent

unliquidated

disputed cr
subject to
setoff

 

Amount of claim [if
secured also slate
value of security]

 

ARK-LA-TEX Wireline Services
P. O. Box 677231

1200 East Campbell #108
Richardson. TX 75081-9574

Credit

$162,139.80

 

Dynasty Enterpn`ses. |nc.
P. O. Box 128
Kenedy, TX 78119

Services and Supplies

$149,399.60

 

Beck Bros, lnc.
P. O. Box 712
Beeville. TX 70104-0712

Credil

$'120,320.84

 

Cert|fied Oil Fie|d Rentals, |
P. O. Box 967
Cuero, TX 77954

Services and Supplies

$113.007.52

 

BBVA Compass
18503 B|anco Road
San Antonio, TX 78258

Services and Supplies

$109,769.64

 

P & A Supp|y
P. O. Box 4814
Victoria. TX 77903

Services and Supplies

$‘109,512.54

 

Excalibur Rentals
P. O. Box 203047
l-louston. TX 7?216-3047

Services and Supplies

$104,375.65

 

 

54 (Of‘licial Form 4) (12/07)

UN|TED STATES BANKRUPTCY COURT
WESTERN DlSTRlCT OF TEXAS
SAN ANTON|O DlVlSlON

lN RE: Primera Energy, LLC

Case No. 15-51396

Chapter 11

L|ST OF CRED|TORS HOLD|NG 20 LARGEST UNSECURED CLA|MS
Conri'nuarion Sheet No. 2

 

 

 

 

 

 

 

 

 

 

 

 

 

(1) t2l l3) (4) (5)
Name. telephone number and indicate if
complete mailing address, claim is
including zip oode. of contingent
employee agenl. or unliquidated
Name of creditor and complete department of creditor familiar disputed -er Amount of elaim {if
mailing addressl including zip with claim who may -be Nature of claim (trade debt. bank loan, subject to secured also slate
code contacted goven'.nent contract eic.) setoff value cf security]
Steve Kent Trucking Services and Supplies $97.974.60
P. O. Box 148
Lottie, LA 70756
CC Forbes LLC Services and Supplies $95,453.15
P. O. Box 250
A|ice. TX 78333
Refinery Specia|ties Services and Supplies 589,578.77
P. 0. Box 577
Hempslead, TX 77445
Crest Pumping Technologies Services and Supplies 585,503.01
6500 West Freeway #601
Fort Worth. TX 76116
Andrews Pump & Supply Credit $74,192.38
P. O. Box 1378
Andrews. TX 79714
Guada|upe Valley E|ectn'c Coop Services and Supplies $64,148.93
13849 US Hwy B?W
LaVemla, TX 78121
CWFord Renta|s Services and Supplies $63,506.47

P. O. Box 3156
Kl|gore. TX 75663

 

 

34 (Offlcial FOrm 41(12/07) UN|TED STATES BANKRUPTCY COU RT
WESTERN DlSTRlCT OF TEXAS
SAN ANTONIO DlVlSlON

|N RE: Primera Energy, LLC Case No. 15-51396

Chapter 11

L|ST OF CRED|TORS HOLD|NG 20 LARGEST UNSECURED CLA|MS

Contfnuati'on Sheet No. 3

DECLARAT|ON UNDER PENALTY OF PERJURY
ON BEHALF OF A CORPORAT|ON OR PARTNERSH|P

|, the Owner of the Corporation
named as the debtor in this case. declare under penalty of perjury that | have read the foregoing list and that it is true and correct to the
best of my information and belief.

U- €)/ 16 led

 

 

 

Brian'K. Airaro
Owne r

